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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF ILLINOIS


United States of America,                              )
                                                       )
          Plaintiff,                                   )       Case No. 3:04CR30029-001-DRH
                                                       )
vs.                                                    )
                                                       )
Angel Bustos-Aguirre,                                  )
                                                       )
         Defendant.                                    )


                                  ORDER REMITTING FINE


       This matter is before the Court on the Government's petition, pursuant to 18 U.S.C. § 3573,

for remission of the unpaid portion of the fine imposed in this case (Doc #514). In the interest of

justice, based upon the Government's showing that reasonable efforts to collect the fine are not likely

to be effective as Defendant is no longer in this country due to having been deported, the

Government's petition is GRANTED. Accordingly, the unpaid portion of the fine imposed against

Defendant in the amount of $346.53, is REMITTED pursuant to 18 U.S.C. § 3573.



       IT IS SO ORDERED.

       DATED: September 13, 2010




                                                       /s/     DavidRHer|do|
                                                       DAVID R. HERNDON
                                                       Chief Judge, United States District Court
